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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

In re:                             )
                                   )
Edgar Clarence Godfrey, III, and   )
and Nancy Jo Godfrey,              )                 Case No. 2:23-BK-01370-FMD
                                   )
                                   )                 Chapter 13
              Debtors.             )
__________________________________ )                 Adversary No. 2:24-ap-00009-FMD
                                   )
Kimberly Whelpley and Coastal      )
Resource Staffing, LLC,            )                 NOTICE OF INTENT TO SUBPOENA
                                   )
              Plaintiffs,          )
                                   )
v.                                 )
                                   )
Edgar Clarence Godfrey, III, and   )
Nancy Jo Godfrey,                  )
                                   )
              Defendants.          )
__________________________________ )


         Plaintiffs, Kimberly Whelpley and Coastal Resource Staffing, LLC, by and through their

undersigned attorney, and pursuant to Federal Rule of Civil Procedure 45(a)(4) hereby gives notice

to all parties of its intent to serve a Subpoena to Produce Documents, Information, or Objects or

to Permit Inspection of Premises in the above civil action, on the following:

Continental American Insurance Company – Life, United American Insurance Company,

Progressive Northern Insurance, Humana Insurance, First Insurance Funding, and Golden Rule

Insurance.

         Copies of the subpoenas are attached hereto as Exhibits 1-6.



                                     [Signature page to follow]
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                                     Respectfully submitted,

                                     WALKER GRESSETTE & LINTON, LLC
                                     Mail: P.O. Drawer 22167, Charleston, SC 29413
                                     Office: 66 Hasell Street, Charleston, SC 29401
                                     Phone: (843) 727-2200

                                     By: /s/ Jennifer S. Ivey
                                     Jennifer S. Ivey
                                     FL Bar No. 116192
                                     Direct: (843) 727-2216
                                     Ivey@wglfirm.com

                                     ATTORNEY FOR PLAINTIFFS

Charleston, South Carolina
February 3, 2025
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